    Case 3:19-md-02885-MCR-HTC Document 3723 Filed 05/02/23 Page 1 of 4




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases           Judge M. Casey Rodgers
                                              Magistrate Judge Hope T. Cannon


                              MEDIATION ORDER

      It has been more than three months since an impasse of the MDL mediation

was declared and the proceeding was terminated. Since that time, there have been a

number of new and material developments that impact the more than 230,000

CAEv2 cases still pending in the MDL and the thousands of CAEv2 cases in

Minnesota state court. Accordingly, the MDL court and the Minnesota court find it

necessary and appropriate to reinstitute formal mediation for the massive number of

CAEv2 cases pending on both courts’ dockets.1

      In the MDL alone, nearly 23,000 cases name 3M as the sole defendant. In

Minnesota, more plaintiffs have done the same. The 3M-only claims have no

bearing on the Aearo debtors’ estate, and need resolution—whether by motion, trial,

or settlement—regardless of the outcome of Aearo’s bankruptcy. The same is true



      1
         Plaintiffs’ Motion to Reinstitute Formal MDL Mediation, ECF No. 3715, which 3M
opposes, ECF No. 3718, thus is GRANTED.
   Case 3:19-md-02885-MCR-HTC Document 3723 Filed 05/02/23 Page 2 of 4
                                                                           Page 2 of 4


for the hundreds of thousands of additional cases naming multiple defendants but

asserting claims against 3M for its own independent (as opposed to derivative)

liability. To that end, the MDL court has begun ruling on Daubert and dispositive

motions in the Wave 1 cases in preparation for immediate remand following the

Eleventh Circuit Court of Appeals’ decision on the interlocutory appeal regarding

successor liability. And in Minnesota, bellwether trials against 3M are set for July

10, 2023, September 11, 2023, October 23, 2023, and February 5, 2024. Although

those trials previously have been continued to accommodate mediation discussions,

they have been delayed long enough and the Minnesota court plans no further

continuances.

      The past few months also have brought far more uncertainty than ever existed

before. The bankruptcy court will soon be ruling on motions to dismiss Aearo’s

bankruptcy cases and/or to appoint a Chapter 11 trustee for the debtors’ estates,

following a trial that concluded on April 25, 2023. The Seventh Circuit currently is

considering Aearo’s direct appeal of the bankruptcy court’s order declining to stay

or enjoin litigation against non-debtor 3M Company as part of Aearo’s bankruptcy

proceeding; oral arguments were heard on April 4, 2023. And just yesterday, the

Eleventh Circuit heard oral arguments in the first consolidated appeal of the

bellwether verdicts. All of those matters present difficult issues and considerable
    Case 3:19-md-02885-MCR-HTC Document 3723 Filed 05/02/23 Page 3 of 4
                                                                               Page 3 of 4


risk for both sides, which warrant renewed exploration of a mutually agreeable

resolution.

      Perhaps most significantly, the bankruptcy mediation process has not borne

fruit. Indeed, the bankruptcy record reflects that the largest block of creditors in that

proceeding—the Official Committee of Unsecured Creditors for Tort Claimants –

Related to Use of Combat Arms Version 2 Earplugs—has sought to be relieved of

any further mediation obligations in the Chapter 11 Mediation due to “an

unbreakable impasse on numerous key issues – both structural and financial[.]” See

In re Aearo Techs. LLC, No. 1:22bk2890, ECF No. 1445. Meanwhile, outside the

bankruptcy process, the “MDL Plaintiffs Leadership in conjunction with Lead

Counsel in the Minnesota coordinated state court action recently made a demand of

3M for global resolution in the MDL of the [CAEv2] litigation against…3M in its

entirety.” See Pls. Mot., ECF No. 3715 at 1. In the view of the MDL court and the

Minnesota court, these federal and state plaintiffs are entitled to an impartial forum

within which to mediate their claims against 3M.

      Of course, the parties are masters of their own resolution and the MDL court

and the Minnesota court have no opinion on what form it should take. With that

said, both courts agree that reinstituting the MDL mediation will only increase the

opportunities for progress to be made towards “the parties’ shared goal of

resolution.” See Def. Opp’n, ECF No. 3718 at 2.
   Case 3:19-md-02885-MCR-HTC Document 3723 Filed 05/02/23 Page 4 of 4
                                                                           Page 4 of 4


      Towards this end, the MDL court appoints the Honorable David R. Herndon

(ret.) and the Honorable Jeffrey J. Keyes (ret.) to serve as mediators, together with

Special Master Randi Ellis, who supports this MDL mediation endeavor and who

will continue in her role as MDL mediator.

      As the parties know, Judge Herndon is a retired federal district court judge

with unparalleled knowledge and experience with MDLs generally and the CAEv2

litigation specifically, and Judge Keyes, who currently serves as the Special Master

for the Minnesota CAEv2 litigation, is a retired magistrate judge with an extensive

background in complex civil litigation and mediation. The parties are well familiar

with Special Master Ellis. Judge Herndon, Judge Keyes and Special Master Ellis

may conduct mediation sessions at their discretion with participants of their

choosing, either in person or via video conference, telephone, or other means,

including ex parte communications as they deem necessary. The selected

participants must attend any sessions set by the mediators, meet and confer with each

other and the mediators to discuss settlement, and negotiate in good faith. The

parties must equally share in the expenses of the mediators and must promptly pay

the invoices when received.

      SO ORDERED, on this 2nd day of May, 2023.


                                       M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
